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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

 LOUIS N. GALLO, III,

                   Petitioner,         Hon. Renée Marie Bumb, U.S.D.J.

          v.                           Civil Action No. 20-16416 (RMB)

 WARDEN, FCI FORT DIX,

                  Respondent.




         ANSWER TO 28 U.S.C. § 2241 PETITION FOR WRIT OF HABEAS
                               CORPUS




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                             PRELIMINARY STATEMENT

      Respondent David Ortiz, warden of the Federal Correctional Institution in

Fort Dix, New Jersey (“FCI Fort Dix”), respectfully submits this memorandum of

law in opposition to the petition for a writ of habeas corpus brought by petitioner

Louis N. Gallo, III. Gallo, a federal inmate at FCI Fort Dix, seeks release to home

confinement on the grounds that: (1) the BOP has wrongly denied him home

confinement based on its withholding of Earned Time Credit; and (2) the conditions

of his confinement at FCI Fort Dix violate the Eighth Amendment prohibition on

cruel and unusual punishment.

      First, Gallo has failed to exhaust his administrative remedies as to any of his

claims. This Court can dismiss his Petition on this ground alone.

      Second, this Court should not order Gallo transferred to home confinement.

The BOP acted within its discretion to deny Gallo’s request for home confinement

based on his criminal history, which includes both an offense involving violence and

a violation of supervised release. Moreover, Gallo is not entitled to any Earned Time

Credit, as he has not completed eligible courses in his Needs areas. Gallo’s reliance

on Goodman v. Ortiz, No. 20-7582 (RMB), 2020 WL 5015613 (D.N.J. Aug. 25, 2020),

is misplaced, because that decision addressed when—not whether—the BOP should

apply Earned Time Credits.

      Finally, Gallo’s challenges to his conditions of confinement do not warrant his

transfer to home confinement. As this Court held in Wragg v. Ortiz, 462 F. Supp. 3d

476 (D.N.J. 2020), conditions of confinement claims are not cognizable on habeas
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review. Moreover, BOP’s extensive preventative measures, described herein, along

with Gallo’s own medical records, demonstrate that the BOP has not acted with

deliberate indifference to Gallo’s risk of infection or medical needs.




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                                 STATEMENT OF FACTS

I.       Gallo’s Conviction and Imprisonment at Fort Dix

         On October 20, 2014, the District Court for the Southern District of Florida

sentenced Gallo to 168 months of imprisonment for mail and wire fraud, followed by

three years of supervised relief. United States v. Gallo, 12-cr-20630, Judgment, ECF

No. 405 (S.D. Fla. Oct. 20, 2014). As discussed in further detail below, Gallo is housed

in the minimum security Camp at FCI Fort Dix. Declaration of James Reiser, dated

November 24, 2020 (“Reiser Decl.”)) ¶ 48.

         A. In April 2020, the BOP Decided Not to Transfer Gallo to Home
            Confinement Based on His Criminal History
         Despite Gallo’s allegations in the Petition, the BOP has never approved Gallo

for home confinement or moved him to pre-release quarantine. Petition at 2, 11.

Reiser Decl. ¶ 22. On April 17, 2020, a Unit Team at Fort Dix recommended against

placing Gallo in home confinement because a court had revoked his supervised

release in 2011, and because he had been convicted of Transmitting Threats to Injure

in 2005.     Reiser Decl. ¶22 & Ex. 1, Home Confinement Denial Memorandum.

Accordingly, FCI Fort Dix declined to exercise its discretion to place Gallo in home

confinement. Reiser Decl. ¶ 22. The BOP did not base this determination on Gallo’s

PATTERN score. 1 Id.


1“Prisoner Assessment Tool Targeting Estimated Risk and Needs. According to the
BOP's website, ‘[t]he risk and needs assessment system is used to determine the risk
and needs of inmates in BOP custody. Specifically, the system determines the
recidivism risk of each inmate and assigns a recidivism risk score of minimum, low,


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      B. Gallo’s COVID-19 Infection and Subsequent Medical History
      On April 22, 2020, Gallo tested positive for COVID-19, during an outbreak of

the disease at the Camp. Turner-Foster Decl. ¶ 2; Reiser Decl. ¶ 26. Gallo showed

no COVID-19 symtoms at the time of testing and remained asymptomatic during the

entire period of his infection. Turner-Foster Decl. ¶¶ 3-4. Based on his positive test,

the BOP moved Gallo to medical isolation in housing unit 5851. Reiser Decl. ¶ 27.

During this time, he was seen daily by medical staff, including by two physicians.

Turner-Foster Decl. ¶ 3. He transferred from medical isolation to recovery after seven

days, during which time daily medical evaluations ceased, but medical care remained

available had Gallo developed symptoms. Id. at ¶4. After Gallo tested negative for

COVID-19 twice, BOP staff moved him back to the Camp in June 2020. Id. ¶ 5; Reiser

Decl. ¶ 48. There have been no additional COVID-19 cases at the Camp since this

time. Id. ¶ 28.

      Since his release back to the Camp, Gallo has sought medical care on only one

occasion: October 22, 2020, when he complained that his left leg and right arm had

been falling asleep for six weeks.    Id. ¶ 6.   He reported no other symptoms or

complications, and medical staff made no abnormal findings upon evaluation. Id.




medium, or high risk. The system also assesses each inmate and determines, to the
extent practicable, the inmate's risk of violent or serious misconduct.’” Defoggi v.
United States, No. 20-3889 (NLH), 2020 WL 2899495, at *2 (D.N.J. June 3, 2020),
reconsideration denied, No. CV 20-3889 (NLH), 2020 WL 4013456 (D.N.J. July 16,
2020) (internal citation omitted).
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  Medical staff directed Gallo to increase his fluid intake, including by purchasing

  sports drinks from the Commissary. Id.

           Medical staff also ordered routine blood work at the October 22 visit. Id. at ¶¶

  6-7. This request for blood work has not been fulfilled as of November 24, 2020. See

  Foster-Turner Decl., Ex. 1 (medical records). According to Dr. Foster-Turner, “[b]ased

  on [Gallo’s] normal medical evaluation, there is no concern in the delay in obtaining

  blood work.” Id. ¶ 7. “If the issue was of an urgent nature, the medical provider

  would have labeled it an ‘urgent’ priority.” Id.

  II.      The Instant Petition
           Gallo filed the instant emergency petition for habeas corpus on November 18,

  2020. He seeks transfer to home confinement on two grounds. First, he alleges that

  the BOP wrongfully denied him transfer to home confinement based on the erroneous

  refusal to grant him Earned Time Credit under the First Step Act. Second, he argues

  that his continued confinement violates the Eight Amendment due to the BOP’s

  deliberate indifference to his medical needs and his risk of reinfection with COVID-

  19. This Court has ordered the Government to respond on an expedited basis. ECF

  No. 2, Order to Answer.

III.       FCI Fort Dix and the BOP’s Response to COVID-19

           A. FCI Fort Dix

           FCI Fort Dix is a “low security federal correctional institution with an adjacent

  minimum security satellite camp.”            FCI Fort Dix Homepage, available at

  https://www.bop.gov/locations/institutions/ftd/ (last visited Nov. 24, 2020). FCI Fort

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Dix Low “is made up of buildings formerly used as military training and housing.”

Reiser Decl. ¶ 24. “The Low security institution has an East and West Compound,

separated by razor wire fencing.” Id. Each individual housing unit in the East and

West compounds has military-style dormitories. Id. The Low facility has a capacity

of approximately 4,700 inmates and currently has a population of approximately

2,600 inmates.       Id. ¶ 25. Inmates generally do not leave their individual housing

unit at this time. Id. ¶ 24.

         Gallo is housed in the minimum security Camp. Reiser Decl. ¶ 48. The Camp

is located outside of the fenced in Low facility. Id. ¶ 24. The Camp has a capacity of

approximately 400 inmates, but is currently running at less than half-capacity, with

a population of approximately 170 inmates. Id. ¶ 25.

         B.      BOP’s “Action Plan” to Combat the Spread of COVID-19

         Since January 2020, to combat the spread of COVID-19 at its institutions, BOP

has been coordinating with subject-matter experts at multiple organizations and

agencies, including the World Health Organization and the Centers for Disease

Control         (“CDC”).    BOP      COVID-19       Action   Plan,     available    at

https://www.bop.gov/resources/news/20200313_covid-19.jsp (last visited Nov. 24,

2020).        Because of these ongoing efforts, BOP implemented a multi-phased

operational plan called the “Action Plan.” See BOP Modified Operations, available at

https://www.bop.gov/coronavirus/covid19_status.jsp (last visited Nov. 24, 2020). The

Action Plan seeks to “mitigate the spread of COVID-19” among inmates and staff,



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continue effective operations of the federal prison system, and ensure that staff

remain healthy and available for duty. Id.

         “Beginning August 5, 2020, BOP implemented Phase 9 of the Action Plan,

which currently governs operations.” Reiser Decl. ¶ 23(a). Under Phase 9, “[o]nly

limited group gathering is afforded, with attention to social distancing to the extent

possible, to facilitate commissary, laundry, showers, telephone, and computer access.”

Id. “Further, BOP has limited the movement of inmates and detainees among its

facilities.” Id.

         All staff and inmates receive “an appropriate face covering and [are] strongly

encouraged to wear the face covering when in public areas when social distancing

cannot be achieved.” Id. ¶ 23(b). “In areas with sustained community transmission,

such as FCI Fort Dix, and at medical centers, all staff are screened for symptoms.”

Id. ¶ 23(d). “Staff registering a temperature of 100.4 degrees Fahrenheit or higher

are barred from the facility on that basis alone.” Id.

         “Every newly admitted inmate, including inmates transferring to an

institution from another BOP facility, is screened and tested for COVID-19 exposure

and symptoms.” Id. ¶ 23(c) & Ex. 2 (COVID-19 Testing for Transferring Inmates).

“The newly admitted inmates are placed in a 14-day quarantine and must test

negative prior to releasing to general population.” Id. “Symptomatic or positive

inmates are placed in isolation until they test negative for COVID-19 or are cleared

by medical staff as meeting CDC criteria for release from isolation.” Reiser Decl. ¶

23(c).
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       “Contractor access to BOP facilities is restricted to only those performing

essential services (e.g., medical or mental health care, religious, etc.) or those who

perform necessary maintenance on essential systems.” Reiser Decl. ¶ 23(e). “All

volunteer visits are suspended absent authorization by the Deputy Director of BOP.”

Id. “Any contractor or volunteer who requires access will be screened for symptoms

and risk factors.” Id.

      “Social and legal visits were stopped as of March 13, 2020, to limit the number

of people entering the facility and interacting with inmates.” Id. ¶ 23(f). “Legal visits

have since commenced in a very limited manner and only after the attorney has been

screened for infection in accordance with the screening protocols in place for prison

staff, contractors, and visitors.” Id. Limited social visiting re-commenced on October

3, 2020, under certain limitations.      Id.   However, as discussed further below,

visitation is again suspended currently in light of recent COVID-19 cases. Id. ¶ 46. 2

      C.     BOP’s Enhanced Cleaning Protocols and Quarantine Units

      In addition to the Action Plan, BOP adopted proactive cleaning protocols at

FCI Fort Dix early in the pandemic, which were overseen in part by Adam Sassaman.

Declaration of Adam Sassaman 3 (“Sassaman Decl.”) ¶ 5. Mr. Sassaman is the Safety



      2Further details and updates of BOP’s modified operations are available to the
public on the BOP website at a regularly updated resource page:
www.bop.gov/coronavirus/index.jsp (last visited Nov. 24, 2020).

      3 The BOP prepared the Sassaman Declaration for use in a different case, and
the declaration bears that case caption. Other than Paragraph 34, however, which
the Government has redacted, the Sassaman Declaration is equally relevant to this
case.
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and Occupational Health Administrator at FCI Fort Dix. Id. ¶ 1. He has worked for

BOP for more than ten years and began working in the field of Safety and

Occupational Heath for BOP in February 2020. See id. ¶ 3. Safety and Occupational

Health is a division in BOP “that, in coordination with the separate Health Services

division, implements programs and policies to promote a safe, healthy environment

for staff and inmates.” Id. ¶ 2. The following is a chronological summary of the

enhanced cleaning protocols for which Mr. Sassaman was in part responsible:

      “On March 13, 2020, FCI Fort Dix ordered 300 hand soap dispensers for inmate

areas.” Id. ¶ 8. “To provide for personal hygiene prior to receipt and installation of

soap dispensers, FCI Fort Dix issued inmates, at no cost to them, all-in-one soap to

shower and wash hands.” Id. “During this period, inmates also had access weekly to

commissary, where they could purchase additional hygiene products, including hand

soap and hand sanitizer.”      Id.   FCI Fort Dix also issued staff health screening

guidance and commenced screening staff for COVID-19.           Id. ¶¶ 10-11.    “This

screening is conducted by the separate Health Services division and involves

temperature checks and a review of any recent symptoms that could be related to

COVID-19.” Id.

      On March 18, 2020, Mr. Sassaman “prepared updated COVID-19 cleaning and

disinfection procedures for FCI Fort Dix for review and approval by the Executive

Staff, including the Warden.” Id. ¶ 13. These procedures were approved two days

later “and sent to all staff with instructions to train inmate orderlies on

implementation.”   Id. ¶ 14.     Mr. Sassaman also “sent cleaning and disinfection
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guidance to all inmates at FCI Fort Dix through the Trulincs electronic

communications system.”     Id. ¶ 15; accord Ex. 3 (memo to inmate population).

Additionally, BOP informed all inmates and staff on March 20, 2020 “that the facility

was implementing Modified Operations, including identifying smaller groupings of

inmates than previously used and adjusted ‘move time’ schedules for these smaller

groups to help limit contact between inmates.” Id. ¶ 16.

      During the week of March 22, 2020, FCI Fort Dix received hand soap and hand

soap dispensers, and BOP staff installed this soap and dispensers “in all inmate

bathrooms.” Id. ¶ 17. Since then, BOP has “continuously” supplied “[a]ll inmate

bathrooms” with soap. Id. In addition to this soap, on March 24, 2020, staff at FCI

Fort Dix distributed EPA-registered disinfectant to housing units, which had been

ordered on March 17, 2020. Id. ¶ 12. This disinfectant has a “2-minute effectiveness

time from contact with the virus.”      Id.   BOP instructed staff to “disinfect all

frequently-touched surfaces” and “train orderlies on use of the product.” Id. ¶ 12.

      On April 2, 2020, Mr. Sassaman “prepared updated COVID-19 cleaning and

disinfection procedures for review and approval by executive management, which

were approved the next day, April 3, 2020, and sent to all staff with instructions to

train inmate orderlies on implementation.” Id. ¶ 21; accord Ex. 4 (e-mail from Mr.

Sassaman regarding updated cleaning procedures).

      On April 6, 2020, Mr. Sassaman updated FCI Fort Dix’s “institutional

Housekeeping Plan to incorporate the April 3, 2020 updated procedures.” Id. ¶ 22

and Ex. 5. “Since this date, inmate orderlies have been assigned tasks under the
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Pandemic Disinfecting Procedures in the Housekeeping Plan.” Id. “The Pandemic

Disinfecting Procedures outlined in the Housekeeping Plan indicate that telephones

require sanitation after each use and other shared frequently touched surfaces

require disinfection hourly.” Id. ¶ 22. BOP also “placed disinfection instructions and

disinfectant for staff use in all BOP escort vehicles” on April 8, 2020. Id. ¶ 24.

      On April 16, 2020, Mr. Sassaman “sent an email memorandum to all staff to

remind them to verify and document all cleaning and disinfection efforts, consistent

with BOP policy.” Id. ¶ 25. He also informed staff that the CDC “would begin to

conduct a twice-daily census ‘during which all Department Heads, Supervisors, or

their designees will call into control to verify the attached sanitation procedures are

being undertaken in the housing units and all other areas of the Institution.’” Id. &

Ex. 6. Additionally, BOP had provided all inmates and staff with masks, and BOP

made using masks mandatory by April 16, 2020. Reiser Decl. ¶ 7.

      “On April 21, 2020, FCI Fort Dix installed dilution centers for the EPA-

registered, 45-second disinfectant in the [Camp].” Sassaman ¶ 26. Mr. Sassaman

“advised these facilities to begin using this disinfectant in backpack sprayers

immediately with labeled spray bottle use to follow.” Id. “Other EPA-registered

disinfectants remain constantly available for routine cleaning and disinfecting.” Id.

      “On April 24, 2020, FCI Fort Dix modified the documentation requirements for

cleaning and disinfection so that Department Heads report once daily to the

Command Center that disinfection and cleaning in their area is completed as

required.” Id. ¶ 27. Staff at FCI Fort Dix also “installed dilution centers for the EPA-
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registered, 45-second disinfectant in Safety East and West Units.” Id. ¶ 28. Mr.

Sassaman “advised these facilities to begin using this disinfectant in backpack

sprayers immediately with labeled spray bottle use to follow.” Id. “As noted above,

other EPA-registered disinfectants remain constantly available for routine cleaning

and disinfecting.” Id.

      Since implementing these cleaning protocols in the March-April timeframe,

“FCI Fort Dix has always maintained an adequate stock of sanitation supplies.” Id.

¶ 31. In summary, FCI Fort Dix staff have ordered approximately:

      •   38,000 gallons of Ready to Use HDQC2 (an EPA registered COVID
          disinfectant with a 10 minute sanitizing time);

      •   6,400 gallons of Ready to Use Ecolab Peroxide Multi-Surface Cleaner and
          Disinfectant (an EPA registered COVID disinfectant with a 45 second
          sanitizing time);

      •   1,700 gallons of hand soap for inmate areas;

      •   225 gallons of Ready to Use TB-cide Quat (an EPA registered COVID
          disinfectant with a 2 minute sanitizing time); and

      •   177 gallons of Ready to Use Oxivir 1 (an EPA registered COVID
          disinfectant with a 1 minute sanitizing time).
Id.

      “These supplies are available to all inmate living quarters as needed,” and

“[t]here is no limit to the supply a housing unit may receive.” Id. Additionally, “FCI

Fort Dix inmates have had continued access to institution-supplied hand soap,

disinfectant, and towels, as well as sanitary items available for purchase from the

Commissary.” Id. ¶ 30.



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      In connection with enhanced cleaning protocols and resources, BOP

established a number of quarantine units at FCI Fort Dix with associated health and

safety protocols. Id. ¶ 32; Reiser Decl. ¶ 30-311. “In accordance with BOP guidance,

inmates are quarantined when symptoms warrant, an inmate newly arrives at FCI

Fort Dix, an inmate is releasing from FCI Fort Dix to the community, or an inmate

is transferring to or from another Institution.” Sassaman Decl. ¶ 32. “FCI Fort Dix

has instituted separate quarantine locations on each Compound for self-surrender

and transfer inmates, releasing or transferring inmates, and symptomatic inmates.”

Id. “Inmates from the quarantine unit are not ordinarily permitted to leave the unit

and have their food delivered to them.” Id. “To the extent practicable, staff members

also limit going between the quarantine unit and the general population in order to

avoid possible contamination.” Id. “Staff entering the quarantine or isolation units

must wear additional Personal Protective Equipment (PPE).” Id.

      D.     COVID-19 Conditions at FCI Fort Dix

      As described above and in the declarations, BOP and the staff at FCI Fort Dix

began no later than February 2020 to prepare for the worldwide coronavirus

pandemic and have continued to modify and update their operations. Their

multifaceted efforts have not entirely prevented infections at the facility, but such

efforts have allowed BOP to manage positive cases and provide appropriate medical

care when such cases arise.

      In April and May 2020, the Camp had an outbreak of COVID-19 in which fifty-

eight inmates housed in the Camp, including Gallo, tested positive. Reiser Decl. ¶
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26; Turner-Foster Decl. ¶ 2. The BOP moved Camp inmates who tested positive for

COVID-19, and only those inmates who tested positive for COVID-19, into housing

unit 5851 on the West Compound for medical isolation and quarantine. Reiser Decl.

¶ 27. All fifty-eight Camp inmates recovered by June 2020, and inmates moved back

into the Camp after it was professionally sanitized by a contracted company. Id. ¶¶

27-28. There have been no additional COVID-19 cases at the Camp since this time.

Id. ¶ 28.

        At some point after the Camp outbreak, the BOP directed transfers of inmates

from FCI Elkton in Ohio to FCI Fort Dix in order to improve social distancing at FCI

Elkton. Reiser Decl. ¶ 29. FCI Fort Dix established a special quarantine location

with associated protocols for these FCI Elkton transfers to bar immediate interaction

with the general population until they cleared quarantine. Id. ¶ 29. FCI Fort Dix

received a transfer of sixty-four FCI Elkton inmates on September 28, 2020, six of

whom tested positive for COVID-19 and were placed in medical isolation. Id. ¶ 35.

On October 6, 2020, another sixty-five FCI Elkton inmates arrived at FCI Fort Dix,

six of whom tested positive for COVID-19 and were placed in medical isolation. Id.

¶ 36.   All twelve COVID-19 positive transfers have since recovered from their

infections. Id. ¶ 38.

        On October 21, 2020, ninety-two FCI Elkton inmates, none of whom tested

positive for COVID-19, arrived at FCI Fort Dix. Id. ¶ 37. The last transfer from FCI

Elkton occurred on October 28, 2020, when seventy-seven inmates arrived at FCI

Fort Dix, five of whom tested positive for COVID-19 and were placed in medical
                                            14
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isolation. Id. ¶ 39. Those five subsequently recovered, though six more of the October

28 transferees who were on quarantine status subsequently tested positive and were

placed in medical isolation. Id.

      Concurrent with the recent surge in COVID-19 cases nationwide, FCI Fort Dix

has experienced a substantial number of recent positive tests in specific sections of

the facility. As of November 24, 2020, apart from the FCI Elkton transfers, FCI Fort

Dix has 240 additional positive cases, as follows: 4

             Specifically, there are currently 7 Special Housing Unit (“SHU”)
             inmates positive for COVID-19. 222 inmates from housing unit
             5812 also tested positive for COVID-19 after all 231 inmates in
             the housing unit were COVID tested on a multitude of occasions.
             One of the positive inmates was granted a Compassionate Release
             and immediately released on November 4, 2020. Therefore, there
             are a total of 221 current positive inmates from unit 5812. On
             November 16, 2020, one inmate from the Camp quarantine
             release unit (5735) tested positive, and on November 11, 2020, 11
             inmates from unit 5841 tested positive.

Reiser Decl. ¶ 41.

      In October and November, twenty-one staff members have tested positive. Id.

¶ 42. Those staff members have remained out of facility until medically cleared. Id.

Currently, eight positive staff members remain out of the prison. Contrary to Gallo’s

allegations, Petition at 9, no inmates have died at FCI Fort Dix. Id. During the week

of November 16, 2020, FCI Fort Dix began to test staff to screen for possible

asymptomatic cases on a volunteer basis. Id. ¶ 43.



      4  Respondent acknowledges that these data may change. Accordingly,
Respondent will update the Court upon request and when making future filings on
this matter.
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          FCI Fort Dix has implemented further protocols in response to these positive

 cases on top of the Phase 9 protocols directed by BOP. Id. ¶ 44. On October 15, 2020,

 the Warden suspended all visitation. Id. ¶ 45. Inmate movement is minimized to

 eliminate or decrease interactions between individuals from different housing units.

 Id. Extensive sanitation procedures remain in place. Id. ¶ 47.

IV.       BOP’s Use of Home Confinement to Combat COVID-19

          BOP is also addressing COVID-19 by prioritizing home confinement for “at-

 risk inmates who are non-violent and pose minimal likelihood of recidivism and who

 might be safer serving their sentences in home confinement rather than in BOP

 facilities.” Mar 26, 2020 Attorney General Memorandum for the Director of BOP,

 available                                                                          at

 https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement.pdf              (last

 visited Nov. 24, 2020); see also Reiser Decl. ¶ 3-4. 5 In making this determination,

 BOP “consider[s] the totality of circumstances for each individual inmate” based on

 the following non-exhaustive, discretionary factors:

                •   The age and vulnerability of the inmate to COVID-19,
                    in accordance with [CDC] guidelines;

                •   The security level of the facility currently holding the
                    inmate, with priority given to inmates residing in low
                    and minimum security facilities;




 5Further information regarding BOP’s home confinement procedures and policies can
 be found in BOP Program Statement 7320.01, Home Confinement, available at
 https://www.bop.gov/policy/progstat/7320_001_CN-1.pdf (last visited Nov. 24, 2020).

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              •   The inmate’s conduct in prison, with inmates who have
                  engaged in violent or gang related activity in prison or
                  who have incurred a BOP violation within the last year
                  not receiving priority treatment[;]

              •   The inmate’s score under PATTERN, with inmates who
                  have anything above a minimum score not receiving
                  priority treatment under this Memorandum;

              •   Whether the inmate has a demonstrated and verifiable
                  re-entry plan that will prevent recidivism and
                  maximize public safety[;] and

              •   The inmate’s crime of conviction, and assessment of the
                  danger posed by the inmate to the community[.]

Id. at 1-2.

       While considering these factors, the Attorney General emphasized that BOP

“cannot take any risk of transferring inmates to home confinement that will

contribute to the spread of COVID-19, or put the public at risk in other ways.” Id. at

2. Accordingly, any inmate granted home confinement under this guidance was

required to be “in a mandatory 14-day quarantine period” before being “discharged

from a BOP facility.” Id. “Inmates transferred to home confinement under this

prioritized process should also be subject to location monitoring services and, where

a court order is entered, be subject to supervised release.” Id.

       On April 3, 2020, the Attorney General updated his guidance to BOP and

issued additional directives in light of the passage of the CARES Act. April 3, 2020

Memorandum, https://www.justice.gov/file/1266661/download (last visited Nov. 24,

2020). The CARES Act authorized the Attorney General “to expand the cohort of

inmates who can be considered for home release upon [his] finding that emergency
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conditions are materially affecting the functioning of [BOP].” Id. The Attorney

General also identified specific BOP facilities “experiencing significant levels of

infection,” which did not include FCI Fort Dix.       See id. at 1-2 (identifying FCI

Oakdale, FCI Danbury, and FCI Elkton).

       The CARES Act expanded the authority for BOP to review “all at-risk inmates

-- not only those who were previously eligible for transfer.” Id. at 2. But this

expanded authority did not override BOP’s obligation to protect public safety. See id.

“That means [BOP] cannot simply release prison populations en masse onto the

streets.”   Id.   “Doing so would pose profound risks to the public from released

prisoners engaging in additional criminal activity, potentially including violence or

heinous sex offenses.” Id. As the Attorney General explained, the “last thing” the

public needs right now is the “indiscriminate release” of inmates without “careful,

individualized determinations”:

                     The last thing our massively over-burdened police
              forces need right now is the indiscriminate release of
              thousands of prisoners onto the streets without any
              verification that those prisoners will follow the laws when
              they are released, that they have a safe place to go where
              they will not be mingling with their old criminal associates,
              and that they will not return to their old ways as soon as
              they walk through the prison gates. Thus, while I am
              directing you to maximize the use of home confinement at
              affected institutions, it is essential that you continue
              making the careful, individualized determinations BOP
              makes in the typical case. Each inmate is unique and each
              requires the same individualized determinations we have
              always made in this context.

Id. at 3.

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       “BOP has generally prioritized for home confinement those inmates who have

served a certain portion of their sentences, or who have only a relatively short amount

of time remaining in those sentences.” Reiser Decl. ¶ 20. “While these priority factors

are subject to deviation in BOP’s discretion in certain circumstances and are subject

to revision as the situation progresses, BOP is at this time prioritizing for

consideration those inmates who either (1) have served 50% or more of their

sentences, or (2) have 18 months or less remaining in their sentences and have served

25% or more of their sentences.” Id. “As BOP processes the inmates eligible for home

confinement under these criteria and learns more about the COVID-19 pandemic and

its effect on BOP facilities, it is assessing whether and how to otherwise prioritize

consideration.” Id.    However, even if the inmate “does not qualify for home

confinement under BOP criteria, an inmate may be reviewed for placement in a

Residential Reentry Center and home confinement at a later stage in accordance with

applicable laws and BOP policies.” Id. ¶ 21.

      Congress’s decision to grant the Attorney General and BOP this additional

CARES Act authority reflects a long-standing practice of deferring to BOP regarding

the transfer and placement of inmates. Under 18 U.S.C. § 3621(b), BOP, not the

courts, “shall designate the place of the prisoner’s imprisonment” based on an

individualized   and   fact-intensive   analysis    of   the   inmate.   “Any   order,

recommendation, or request by a sentencing court that a convicted person serve a

term of imprisonment in a community corrections facility shall have no binding effect

on the authority of the Bureau under this section to determine or change the place of
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imprisonment of that person.”     Id.    Furthermore, “a designation of a place of

imprisonment under this subsection is not reviewable by any court.” Id.

      Currently, among other factors, the BOP considers the inmate’s institutional

discipline history for the last twelve months, considers whether the inmate has a

verifiable release plan, confirms that the inmate’s primary offense is not violent, a

sex offense, or terrorism-related, and confirms that the inmate does not have a

detainer.   Reiser Decl. ¶ 18.   In a November 16, 2020 Memorandum, the BOP

determined that inmates with violence in their past offenses are ineligible for home

confinement. ¶ 19.

      Since the March 26, 2020 Memorandum instructed the BOP to prioritize home

confinement, the BOP has placed 17,800 inmates in home confinement. COVID-19

Home Confinement Information, https://www.bop.gov/coronavirus/index.jsp (last

visited Nov. 24, 2020).   “Inmates do not need to apply to be considered for home

confinement.”   Reiser Decl. ¶ 17.      “BOP Case Management staff are urgently

reviewing all inmates to determine which ones meet the criteria established by the

Attorney General.” Id. “While all inmates are being reviewed for suitability for home

confinement, any inmate who believes he or she is eligible may request to be referred

to home confinement and provide a release plan to his or her Case Manager.” Id.

 V.   Earned Time Credits Under the First Step Act

      The First Step Act of 2018, signed into law on December 21, 2018, amends 18

U.S.C. § 3621, the statute governing the calculation of federal sentences. Among

other provisions, the First Step Act required the Attorney General to develop a “risk
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and needs assessment system” for federal inmates within 210 days after the law’s

enactment.   See 18 U.S.C. § 3632(a).      “Risk” refers to the likelihood that each

individual inmate will reoffend or recidivate after release. See Resier Decl., Ex. 16

(First Step Act Approved Programs Guide) at 2. “Need” refers to the specific areas

an inmate can address to lower his or her risk. See id. In other words, Need indicates

what issues affect an inmate’s risk and what he or she should address by taking

programs. See id.

      In addition, the First Step Act adds the subsections:

           (h) IMPLEMENTATION OF RISK AND NEEDS ASSESSMENT
      SYSTEM.—

             (1) IN GENERAL.—Not later than 180 days after the Attorney
      General completes and releases the risk and needs assessment system
      (referred to in this subsection as the ‘System’) developed under subchapter
      D, the Director of the Bureau of Prisons shall, in accordance with that
      subchapter— ‘‘(A) implement and complete the initial intake risk and
      needs assessment for each prisoner (including for each prisoner who was
      a prisoner prior to the effective date of this subsection), regardless of the
      prisoner’s length of imposed term of imprisonment, and begin to assign
      prisoners to appropriate evidence-based recidivism reduction programs
      based on that determination;

            (B) begin to expand the effective evidence-based recidivism
      reduction programs and productive activities it offers and add any new
      evidence-based recidivism reduction programs and productive activities
      necessary to effectively implement the System; and

             (C) begin to implement the other risk and needs assessment tools
      necessary to effectively implement the System over time, while prisoners
      are participating in and completing the effective evidence-based
      recidivism reduction programs and productive activities.

             (2) PHASE-IN.—In order to carry out paragraph (1), so
             that every prisoner has the opportunity to participate in
             and complete the type and amount of evidence-based
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               recidivism reduction programs or productive activities they
               need, and be reassessed for recidivism risk as necessary to
               effectively implement the System, the Bureau of Prisons
               shall—

                (A) provide such evidence-based recidivism reduction programs
         and productive activities for all prisoners before the date that is 2 years
         after the date on which the Bureau of Prisons completes a risk and needs
         assessment for each prisoner under paragraph (1)(A); and

                (B) develop and validate the risk and needs assessment tool to be
         used in the reassessments of risk of recidivism, while prisoners are
         participating in and completing evidence-based recidivism reduction
         programs and productive activities.


18 U.S.C. § 3621(h)(1)-(2) (emphasis supplied).

         As noted above, the First Step Act required the Attorney General to develop a

risk and needs assessment system within 210 days of the law’s enactment. The

Attorney General met this deadline on July 19, 2019, when the BOP released the

“Prisoner Assessment Tool Targeting Estimated Risk and Needs” (“PATTERN”). See

Herring v. Joseph, No. 20-249, 2020 WL 3671375, at *3 (N.D. Fla. June 22, 2020),

report and recommendation adopted in part, 2020 WL 3642706 (N.D. Fla. July 6,

2020).

         The First Step Act also directs the BOP to “implement and complete an initial

intake risk and needs assessment for each prisoner” and “begin to assign prisoners to

appropriate     evidence-based     recidivism   reduction   programs     based   on    that

determination” within 180 days of PATTERN’s release date (that is, by January 15,

2020. 18 U.S.C. § 3621(h)(1)(A).)



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       The BOP has identified the following “needs” that agency staff should assess

for each inmate:

      •        Anger/Hostility
      •        Finance/Poverty
      •        Antisocial Peers
      •        Medical
      •        Cognitions
      •        Mental Health
      •        Dyslexia
      •        Recreation/Leisure/Fitness
      •        Education
      •        Substance Abuse
      •        Family/Parenting
      •        Trauma
      •        Work

      See Reiser Decl., Ex. 15 (November 2019 Memo) at 1. The BOP has also

identified a number of screening measures staff may use to assess these needs. See

id. at 3-15.

       In enacting 18 U.S.C. § 3632, the First Step Act directed the BOP to use the

Risk and Needs Assessment to classify inmates at risk of recidivism, match inmates

with suitable programs, and offer incentives for completion of such programs,

including Earned Time Credit toward pre-release custody. Specifically, 18 U.S.C. §

3632 provides, in relevant part:

             (a) IN GENERAL.—Not later than 210 days after the date of
       enactment of this subchapter, the Attorney General, in consultation
       with the Independent Review Committee authorized by the First Step
       Act of 2018, shall develop and release publicly on the Department of
       Justice website a risk and needs assessment system (referred to in this
       subchapter as the “System” ), which shall be used to—




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          (1) determine the recidivism risk of each prisoner as part of the
    intake process, and classify each prisoner as having minimum, low,
    medium, or high risk for recidivism;

           (2) assess and determine, to the extent practicable, the risk of
    violent or serious misconduct of each prisoner;

          (3) determine the type and amount of evidence-based recidivism
    reduction programming that is appropriate for each prisoner and assign
    each prisoner to such programming accordingly, and based on the
    prisoner’s specific criminogenic needs, and in accordance with subsection
    (b);

          (4) reassess the recidivism risk of each prisoner periodically,
    based on factors including indicators of progress, and of regression, that
    are dynamic and that can reasonably be expected to change while in
    prison;

          (5) reassign the prisoner to appropriate evidence-based recidivism
    reduction programs or productive activities based on the revised
    determination to ensure that—

                 (A) all prisoners at each risk level have a meaningful opportunity
          to reduce their classification during the period of incarceration;

                 (B) to address [1] the specific criminogenic needs of the prisoner;
          and

                (C) all prisoners are able to successfully participate in such
          programs;
    ….

          (d) EVIDENCE-BASED RECIDIVISM           REDUCTION PROGRAM
    INCENTIVES AND PRODUCTIVE ACTIVITIES REWARDS.—The System shall
    provide incentives and rewards for prisoners to participate in and
    complete evidence-based recidivism reduction programs as follows:
          …

          (4) TIME CREDITS.—

         (A) In general.— A prisoner, except for an ineligible prisoner
    under subparagraph (D), who successfully completes evidence-based

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        recidivism reduction programming or productive activities, shall earn
        time credits as follows:

              (i) A prisoner shall earn 10 days of time credits for every 30 days
        of successful participation in evidence-based recidivism reduction
        programming or productive activities.

               (ii) A prisoner determined by the Bureau of Prisons to be at a
        minimum or low risk for recidivating, who, over 2 consecutive
        assessments, has not increased their risk of recidivism, shall earn an
        additional 5 days of time credits for every 30 days of successful
        participation in evidence-based recidivism reduction programming or
        productive activities.

               (B) Availability.— A prisoner may not earn time credits under
        this paragraph for an evidence-based recidivism reduction program that
        the prisoner successfully completed—

              (i) prior to the date of enactment of this subchapter; or

              (ii) during official detention prior to the date that the prisoner’s
        sentence commences under section 3585(a).

              (C) Application of time credits toward prerelease custody or
        supervised release.—

               Time credits earned under this paragraph by prisoners who
        successfully participate in recidivism reduction programs or productive
        activities shall be applied toward time in prerelease custody or
        supervised release. The Director of the Bureau of Prisons shall transfer
        eligible prisoners, as determined under section 3624(g), into prerelease
        custody or supervised release. 6

18 U.S.C. § 3632(a), (d) (emphasis supplied).

        The First Step Act defines “Evidence-based Recidivism Reduction

Program” and Productive Activities” as follows:


6 Earned Time Credit is credit applied toward pre-release placement (i.e., placement
in an RRC or home confinement). Unlike good conduct time, it does not shorten an
inmate’s sentence by moving up his statutory release date.
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           (3) EVIDENCE-BASED RECIDIVISM REDUCTION PROGRAM.— The term
    “evidence-based recidivism reduction program” means either a group or
    individual activity that—

           (A) has been shown by empirical evidence to reduce recidivism or
    is based on research indicating that it is likely to be effective in reducing
    recidivism;

          (B) is designed to help prisoners succeed in their communities
    upon release from prison; and

          (C) may include—

                 (i) social learning and communication, interpersonal, anti-
          bullying, rejection response, and other life skills;

                (ii) family relationship building, structured parent-child
          interaction, and parenting skills;

                 (iii) classes on morals or ethics;

                 (iv) academic classes;

                 (v) cognitive behavioral treatment;

                 (vi) mentoring;

                 (vii) substance abuse treatment;

                 (viii) vocational training;

                 (ix) faith-based classes or services;

                 (x) civic engagement and reintegrative community services;

                 (xi) a prison job, including through a prison work program;

                (xii) victim impact classes or other restorative justice
          programs; and

                 (xiii) trauma counseling and trauma-informed support programs.
          ….

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              (5) PRODUCTIVE ACTIVITY.—

              The term “productive activity” means either a group or individual
       activity that is designed to allow prisoner determined as having a
       minimum or low risk of recidivating to remain productive and thereby
       maintain a minimum or low risk of recidivating, and may include the
       delivery of the programs described in paragraph (1) [1] to other
       prisoners.

18 U.S.C. § 3635(3), (5).

       The BOP has approved a number of Evidence-Based Recidivism Reduction

(“EBRR”) program and “Productive Activities” (“PAs”) that may qualify for First Step

Act credits. See Reiser Decl., Ex. 16 (First Step Act Approved Programs Guide) at 4-

42.   To receive Earned Time Credit under the First Step Act, an inmate must

successfully complete one of the BOP-approved EBRR programs or PAs related to one

of the particular needs assigned to that inmate. See Reiser Decl. ¶ 53. The BOP list

of approved EBRR programs and PAs also sets out the duration that constitutes

“completion” of the program/activity as required by 18 U.S.C. § 3632(d)(4). See Reiser

Decl., Ex. 16 (First Step Act Approved Programs Guide) at 4-42.

VI.    Gallo’s Programming at FCI Fort Dix
       On December 2, 2019, BOP staff found Gallo eligible to earn Earned Time

Credits under 18 U.S.C. § 3632(d) because he did not have a disqualifying offense

under the statute. See Reiser Decl. ¶ 49, Ex. 14 (Inmate History – FSA) at 1. That

same day, BOP staff conducted a Risk and Needs Assessment for Gallo and

determined that he had a “Minimum” risk for recidivism. Reiser Decl. ¶ 50.




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           In May 2020, due to changes to the PATTERN tool, Gallo’s PATTERN score

  increased to a “Low” risk for recidivism. See Reiser Decl. ¶ 50, Ex. 14 (Inmate History

  – FSA) at 1. Gallo’s PATTERN score reverted to “Minimum” in September 2020,

  where it remains as of November 24, 2020. Id.

           Staff also determined that Gallo had a “Need” in the following categories:

  Anger/Hostility and Work. See Reiser Decl. ¶ 52, Ex. 14 (Inmate Profile) at 1-2. Gallo

  does not have a need for programming in any other category. See id. In June 2020,

  the BOP placed Gallo on the wait-list for Anger Management in order to meet his

  need in Anger/Hostility. See Reiser Decl. ¶ 53. As of November 24, 2020, Gallo had

  not yet commenced the program. See id.

           With regard to Gallo’s Work need, in order to receive credit for an occupational

  training program, he must complete one of the BOP-approved 500-hour programs.

  Reiser Decl. ¶ 54, Ex. 16 at 22. He is not participating in any courses at this time

  that would qualify him for Earned Time Credit. Reiser Decl. ¶ 54. Gallo has taken

  numerous OSHA programs, but these do not qualify him for Earned Time Credit. Id.,

  Ex. 18, Education Transcript. Likewise, his completion of the Money Smart program

  does not qualify him for credit because he does not have a Finance/Poverty need.

  Reiser Decl. ¶ 54, Exs. 14 & 16.

VII.       Gallo’s Failure to Exhaust Administrative Remedies

           BOP has established a four-step process for federal inmates to exhaust

  administrative remedies. See 28 C.F.R. § 542.10 et seq. To comply with this process,

  an inmate generally must first attempt to informally resolve his dispute with prison
                                                 28
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staff. See 28 C.F.R. § 542.13. If these efforts fail, the inmate must then submit a BP-

9 administrative remedy request to the warden of his institution within twenty days

of the event or decision underlying the request. See 28 C.F.R. § 542.14(a), (c). If the

administrative remedy request is denied, the inmate must then file a BP-10 appeal

with the appropriate Regional Director within twenty days of the date of the warden’s

response. See 28 C.F.R. § 542.15(a). If the Regional Director denies the appeal, the

inmate must then appeal that decision by filing a BP-11 appeal with the BOP’s

Central Office, General Counsel, within thirty days from the date of the Regional

Director’s response. See id. The General Counsel has 40 days to respond. 28 C.F.R.

§ 542.18. If an issue raised by the inmate concerns “an emergency” that “threatens

the inmate’s immediate health or welfare, the Warden shall respond not later than

the third calendar day after filing.” § 542.18.

      According to BOP records, in July 2020, Gallo filed an administrative remedy

request with the Warden of FCI Fort Dix challenging the denial of his request to

transfer to home confinement. See Dobovich Decl. ¶ 4, Ex. 2 (BP-9 Remedy and

Response) at 1. On August 31, 2020, the Warden denied the request, explaining that

Gallo was ineligible for transfer to home confinement because:

             Specifically, in 2005, you were convicted of charges to
             including Transmitting Threat to Injure. During the
             commission of your crime, it was determined that you
             threatened a potential government witness. Additionally,
             in June 2011, while on supervised release, you were
             arrested on a supervised release warrant due to your
             continued criminal activity. Based on the aforementioned,
             your Unit Team determined you posed a safety and

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             security threat to the community should you be released
             from custody.

Id.

      The BOP rejected both of Gallo’s attempts to appeal this denial for deficiencies

in his filing. Id. ¶ 4, Ex. 3 (Administrative Remedy Generalized Retrieval). Gallo has

never filed any other administrative remedies. Dobovich Decl. ¶ 5. Thus, he has not

challenged the conditions of his confinement regarding his medical care or COVID-

19 risk, or his lack of Earned Time Credit through the administrative remedy process.

                                     Argument

 I.   The BOP Properly Exercised Its Discretion By Deciding Not to
      Transfer Gallo to Home Confinement Based on His Criminal History

      This Court should reject Gallo’s challenges to the BOP’s decision to deny him

home confinement for at least three reasons.       First, Gallo failed to exhaust his

administrative remedies.     Second, the BOP’s home confinement decisions are

committed to agency discretion, leaving this Court without jurisdiction to review

them. Third, Gallo’s claims fail on their merits. Gallo alleges a cascade of errors in

which the BOP’s refusal to grant him Earned Time Credit resulted in an erroneous

PATTERN score of Low, which in turn rendered him ineligible for home confinement.

His allegations are incorrect at every step: (1) Gallo has not met the requirements for

Earned Time Credit; (2) the BOP denied him home confinement due to his criminal

history, rather than on the basis of his PATTERN score; (3) and his PATTERN score

is in fact Minimum.



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      Contrary to Gallo’s allegations, the BOP never approved him for transfer to

home confinement or moved him to pre-release quarantine.          Reiser Decl. ¶ 22.

Instead, on April 17, 2020, a Unit Team at Fort Dix recommended against Gallo’s

placement in home confinement for two reasons: (1) a Court revoked Gallo’s

supervised release in 2011; and (2) Gallo was convicted of Transmitting Threats to

Injure in 2005.   Reiser Decl. ¶ 22 & Ex. 1, Memorandum. Accordingly, the BOP

declined to exercise its discretion to place Gallo on home confinement. Reiser Decl. ¶

22.

      A. Gallo Failed to Exhaust Administrative Remedies With Respect to
         His Home Confinement Claims and Earned Time Credit
      The Court should dismiss Gallo’s home confinement and Earned Time Credit

claims because he did not exhaust administrative remedies. Although Gallo initiated

the administrative remedy process by challenging the BOP’s denial of his home

confinement request, he failed to exhaust his administrative remedies. Furthermore,

with respect to his claim that the BOP improperly deprived him of Earned Time

Credit, Gallo has pursued no administrative remedy whatsoever.             His home

confinement and Earned Time Credit claims can be denied on this basis alone.

      Before a federal inmate can seek habeas relief in district court pursuant to 28

U.S.C. § 2241, he must first exhaust his administrative remedies. See Vasquez v.

Strada, 684 F.3d 431, 433 (3d Cir. 2012); Moscato v. Fed. Bureau of Prisons, 98 F.3d

757, 760-62 (3d Cir. 1996). As the Supreme Court has recognized, the exhaustion

requirement serves a number of critical interests:


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             First, exhaustion protects administrative agency authority.
      Exhaustion gives an agency an opportunity to correct its own mistakes
      with respect to the programs it administers before it is haled into federal
      court, and it discourages disregard of the agency’s procedures.

             Second, exhaustion promotes efficiency. Claims generally can be
      resolved much more quickly and economically in proceedings before an
      agency than in litigation in federal court. In some cases, claims are
      settled at the administrative level, and in others, the proceedings before
      the agency convince the losing party not to pursue the matter in federal
      court. And even where a controversy survives administrative review,
      exhaustion of the administrative procedure may produce a useful record
      for subsequent judicial consideration.


Woodford v. Ngo, 548 U.S. 81, 88-89 (2006) (internal citations and quotation marks

omitted).

      Courts within this Circuit therefore require an inmate to exhaust

administrative remedies because exhaustion promotes these important interests. See

Arias v. U.S. Parole Comm’n, 648 F.2d 196, 199 (3d Cir. 1981) (noting that Third

Circuit has “adhered to the exhaustion doctrine for several reasons: (1) judicial review

may be facilitated by allowing the appropriate agency to develop a factual record and

apply its expertise, (2) judicial time may be conserved because the agency might grant

the relief sought, and (3) administrative autonomy requires that an agency be given

an opportunity to correct its own errors”) (citation omitted); see also Briley v. Warden

Fort Dix FCI, 703 F. App’x 69, 71 (3d Cir. 2017).         Indeed, although Woodford

concerned the exhaustion requirement imposed by the Prison Litigation Reform Act,

the purposes of exhaustion identified by the Court – protecting agency authority and

promoting efficiency – apply equally to habeas petitions. See Woodford, 548 U.S. at

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93 (“In practical terms, the law of habeas, like administrative law, requires proper

exhaustion[.]”); Arias, 648 F.2d at 199.

      Although     the   exhaustion   requirement     may    be   excused   in   limited

circumstances, such as when exhaustion would be futile, see, e.g., Gambino v. Morris,

134 F.3d 156, 171 (3d Cir. 1998), courts routinely enforce the requirement where, as

here, there is no compelling justification to excuse the petitioner’s failure to exhaust.

See, e.g., Velez v. Zickefoose, No. 10-3992 (NLH), 2010 WL 5186158, at *3 (D.N.J. Dec.

15, 2010) (“it has been long established that an inmate’s unjustified failure to pursue

administrative remedies results in procedural default warranting decline of judicial

review”); Brown v. Grondolsky, No. 09-3290 (RMB), 2009 WL 2778437, at *1-2 (D.N.J.

Aug. 31, 2009) (exhaustion requirement “is diligently enforced by the federal courts”

and futility exception applies only in “narrowly-defined circumstances”) (citation

omitted). Where a petitioner argues that his failure to exhaust should be excused

due to technical problems or circumstances out of his control, he must allege specific

facts that explain why he was completely unable to appeal the denial of his

administrative remedy request. See Mathisen v. Ortiz, No. 18-1435 (NLH), 2020 WL

5640715, at *4 (D.N.J. Sept. 22, 2020)

      Here, Gallo entirely failed to undertake the administrative remedy process

with respect to his Earned Time Credit claims. Those claims should be denied for

failure to exhaust. With respect to Gallo’s challenge to the denial of his request for

home confinement, he concedes that he has failed to exhaust his administrative

remedies, but argues that the Court should excuse his failure to appeal. Petition at
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6.     Gallo provides a litany of allegations that BOP staff prevented him from

exhausting his administrative remedies. See Petition at 15. Most, like the claims

that Gallo could not obtain forms while in medical isolation in the Spring, would not

have ultimately prevented him from pursuing his administrative remedies. Gallo

also alleges that the BOP staff purposely withheld “original duplicate forms” and

committed other various, non-specific malfeasance with respect to his administrative

remedy process. See Petition at 6-7 (“Regional staff either back-dated responses and

rejections to just within the requisite 30 days, or as show in Exhibit ‘H-1’, not mailing

the reply for an unreasonable period of time.”)

         None of Gallo’s excuses justifies his failure to exhaust. BOP files belie his

argument that he was unable to provide a copy of the denial of his BP-9 form because

“no Warden’s response existed.” Id., See Dobovich Decl., Ex. 2 (showing that the

Warden issued a written response on August 31, 2020). Gallo argues that he mailed

a corrected appeal on August 24, 2020, but has never heard back. Petition at 6. The

BOP has no record of receiving a proper appeal of the denial of Gallo’s BP-9 form.

Dobovich Decl. ¶ 4.

         The Court should deny habeas relief to Gallo because he did not exhaust

administrative remedies with respect to the issues raised in this petition. Even if

Gallo did file an appeal, as he alleges, he did not fully exhaust his administrative

remedies prior to bringing this petition. The Court should therefore find that Gallo’s

failure to complete the administrative process before bringing this petition precludes



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him from obtaining relief. Because Gallo provides no compelling justification for his

failure to exhaust administrative remedies, the Court should dismiss the petition.

      B. This Court Lacks Jurisdiction to Review the BOP’s Home
         Confinement Decisions, Which are Committed to Agency
         Discretion by Statute
      “Pre-release placement decisions, such as transfers to home confinement, are

committed to the BOP's sole discretion.” Aigebkaen v. Warden, FCI Fort Dix, No. 20-

5732 (NLH), 2020 WL 6883438, at *4 (D.N.J. Nov. 24, 2020) (citing 18 U.S.C. §

3624(c)(2) & Prows v. Fed. Bureau of Prisons, 981 F.2d 466 (10th Cir. 1992)). Rather

than circumscribe the BOP’s discretion, the CARES Act expands it by increasing the

number of inmates who qualify for home confinement under 18 U.S.C. § 3624(c)(2).

Id. (citing Furando v. Ortiz, No. 20-3739, 2020 WL 1922357, at *2 (D.N.J. Apr. 21,

2020)); cf. Johnson v. Zickefoose, Civ. No. 12-2544 RMB, 2012 WL 5880344, at *7

(D.N.J. Nov. 20, 2012) (challenges to BOP transfer decisions, such as whether to

transfer an inmate to an increased security level or whether to release an inmate

from disciplinary segregation, are “not cognizable in habeas”).

      The BOP’s decision to exclude “inmates with violence in their past offenses”

from home confinement eligibility is a valid exercise of the BOP’s discretion. Reiser

Decl. ¶ 19. The BOP properly exercised its discretion in deciding not to transfer Gallo

to home confinement based on his past offense for threatening injury, as well as his

past violation of the terms of his supervised release. Reiser Decl. ¶ 22.

      C. The BOP Denied Gallo’s Request for Home Confinement Based on
         His Criminal History, Not Because of His PATTERN Score


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      As explained above, the BOP denied Gallo’s request for transfer to home

confinement because of his prior conviction for threatening violence, as well as his

violation of supervised release. Reiser Decl. ¶ 22. The BOP did not deny Gallo’s

request for home confinement based on an erroneous PATTERN score of Low as Gallo

alleges. Id. Instead, the BOP assigned Gallo a Minimum PATTERN score from

December 2019 to May 2020, a time period which covers the April 17 decision to deny

home confinement. Reiser Decl. ¶ 50. Due to changes to the PATTERN tool, Gallo’s

PATTERN score increased to a “Low” risk for recidivism from May to September of

2020. See Reiser Decl. ¶ 50, Ex. 14 (Inmate History – FSA) at 1. Gallo’s PATTERN

score reverted to “Minimum” in September 2020, where it remains as of November

24, 2020. Id.

      D. Gallo is Not Entitled to Earned Time Credits
      Gallo is not entitled to Earned Time Credits based on courses he has taken

while incarcerated. While Gallo has completed a number of courses from the BOP,

he has not completed any EBRR or PA approved programs that could earn him

Earned Time Credit. Accordingly, he is not entitled to any credits.

      Among other measures, the First Step Act directs the BOP to “determine the

type and amount of evidence-based recidivism reduction programming that is

appropriate for each prisoner and assign each prisoner to such programming

accordingly, and based on the prisoner’s specific criminogenic needs[.]” 18 U.S.C.

§ 3632(a)(3).   To comply with this directive, the BOP has established a list of

Evidence-Based Recidivism Reduction (EBRR) programs and productive activities

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(PAs) that meet the definitions set out in the 18 U.S.C. § 3635. See Reiser Decl., Ex.

16 (First Step Act Approved Programs Guide) at 4-42. Accordingly, before an inmate

can receive Earned Time Credit, he or she must successfully complete EBRR

programming or PAs related to one of the specific needs assigned to that inmate. See

Reiser Decl. ¶ 53; 8 U.S.C. § 3632(d)(4)(A). An inmate may obtain 10 days of time

credit for every 30 days he successfully participates in the EBBR programming or PA.

See 18 U.S.C. § 3632(d)(4)(A)(i).

      Despite Gallo’s assertions, he has not completed any programs for which he

can receive Earned Time Credits. As noted above, the BOP has determined that Gallo

has needs in Anger/Hostility and Work. See Reiser Decl., Ex. 4 (Inmate Profile

Printout) at 1-2). Thus, to receive Earned Time Credits, Gallo must complete an

EBRR program or PA that addresses those specific needs.               The BOP has

recommended Gallo, and placed him on the wait-list for, a class in Anger

Management, which will address his Anger/Hostility need (see id.). To date, however,

Gallo has not commenced this program. See Reiser Decl. ¶ 53.

       Although Gallo has completed a number of courses, none of them is listed as

an approved EBRR program or PA by the BOP. Compare Petitioner’s Exhibit 1

(Education Data Transcript) with Reiser Decl., Ex. 16 (First Step Act Program Guide)

at 4-42. While it is admirable that Gallo has taken a number of courses while

incarcerated, he cannot receive Earned Time Credit for completing these courses.

      Goodman, heavily relied upon by Gallo, is inapposite. Goodman was concerned

with when—not whether—the BOP will credit inmates with Earned Time Credit.
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2020 WL 5015613 at *6. In sum, because Gallo has not fully completed any approved

EBRR program or PA related to his assessed needs, he cannot obtain Earned Time

Credit toward pre-release custody.

II.   Continued Incarceration Does Not Violate Gallo’s Eighth Amendment
      Rights



      Gallo has alleged that his conditions of confinement at FCI Fort Dix violate the

Eighth Amendment’s prohibition on cruel and unusual punishment. This Court

should deny Gallo’s Eighth Amendment claim on at least three grounds. First, Gallo

has failed to initiate, let alone exhaust, his administrative remedies. Second, federal

courts do not have habeas jurisdiction over conditions of confinement claims. And

third, Gallo’s claims fail on the merits; he cannot establish that BOP staff provided

him deficient medical care or are deliberately indifferent to his medical needs.

      A. Gallo Failed to Exhaust His Administrative Remedies With Respect
         to His Conditions of Confinement Claims
      Under the PLRA, an inmate challenging the conditions of his confinement

must exhaust all available administrative remedies. See 42 U.S.C. § 1997e(a) (“No

action shall be brought with respect to prison conditions under section 1983 of this

title, or any other Federal law, by a prisoner confined in any jail, prison, or other

correctional facility until such administrative remedies as are available are

exhausted.”). This mandatory exhaustion requirement applies to all suits regarding

prison life, including inmates raising concerns over COVID-19. See, e.g., Nellson v.

Barnhart, No. 20-756, 2020 U.S. Dist. LEXIS 66971, at *13 (D. Colo. Apr. 16, 2020)


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(“The Court finds that plaintiff has failed to exhaust his administrative remedies

before seeking judicial relief” regarding COVID-19.) (citing Ross v. Blake, 136 S. Ct.

1850, 1856-57 (2016)); see also Valentine v. Collier, 956 F.3d 797, 806 (5th Cir. 2020)

(per curiam) (staying injunction because petitioners failed to exhaust administrative

remedies).

      Because Gallo never filed an administrative remedy request regarding his

conditions of confinement, see Dobovich Decl. ¶ 5, the Court should dismiss his claims

for failure to exhaust. His allegation that he could not obtain an administrative

remedy form while in medical isolation in the Spring, see Petition at 6, does not excuse

his failure to exhaust. Even if the administrative remedy forms were unavailable at

that time, Gallo could have filed an administrative remedy upon his release from

medical isolation.

      B. This Court Lacks          Jurisdiction     Over    Gallo’s   Conditions     of
         Confinement Claim
      The Court lacks jurisdiction over the petition because Petitioner does not

present a “core” habeas claim. Petitioner’s claims are effectively the same as those

brought in Wragg, in which this Court dismissed, on jurisdictional grounds, a Section

2241 petition brought by a putative class of inmates alleging Eighth Amendment

violations for unconstitutional conditions of confinement and deliberate indifference

arising from the COVID-19 pandemic. See 462 F. Supp. 3d at 505. Similarly, in

Harper v. Warden, Judge Kugler dismissed a Section 2241 petition for lack of

jurisdiction premised on “the threat of COVID-19 exposure” to “‘medically vulnerable’


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inmates at Fort Dix.” Harper v. Warden, FCI Fort Dix, No. 20-8345-RBK, 2020 U.S.

Dist. LEXIS 162005, at *7-8 (D.N.J. Sep. 4, 2020). This Court should likewise dismiss

this petition because Petitioner is challenging those same conditions of confinement

based on the threat of COVID-19 exposure.

      The decisions in Wragg and Harper adhere to the long established precept that

habeas corpus relief under Section 2241 “is available only ‘where the deprivation of

rights is such that it necessarily impacts the fact or length of detention.’” Bonadonna

v. United States, 446 F. App’x 407, 409 (3d Cir. 2011) (quoting Leamer v. Fauver, 288

F.3d 532, 540 (3d Cir. 2002)). The Third Circuit also permits an inmate to bring a

Section 2241 petition to challenge the execution of his federal sentence when BOP is

allegedly violating a statute or “BOP’s conduct was somehow inconsistent with a

command or recommendation in the sentencing judgment.” See Cardona v. Bledsoe,

681 F.3d 533, 537 (3d Cir. 2012) (discussing Woodall v. Fed. Bureau of Prisons, 432

F.3d 235, 242 (3d Cir. 2005); McGee v. Martinez, 627 F.3d 933, 936-37 (3d Cir. 2010)).

      “By contrast, constitutional claims that merely challenge the conditions of a

prisoner’s confinement, whether the inmate seeks monetary or injunctive relief, fall

outside of that core” habeas jurisdiction. Nelson v. Campbell, 541 U.S. 637, 643

(2004); see also Stanko v. Obama, 393 F. App’x 849, 851 (3d Cir. 2010) (holding that

district court properly dismissed prisoner’s claims of cruel and unusual punishment

and constitutional violations resulting from the seizure of his papers because those

claims “clearly fall outside the realm of challenges brought in habeas”); Leslie v. Att’y

Gen. of United States, 363 F. App’x 955, 958 (3d Cir. 2010) (“To the extent that Leslie
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attempts to challenge the conditions of his confinement, we agree with the District

Court that this habeas corpus petition was not the proper vehicle to raise his

claims.”); Johnson v. Warden Canaan USP, 699 F. App’x 125, 126 (3d Cir. 2017) (“The

Court correctly reasoned that Johnson was challenging the conditions of his

confinement rather than the execution of his sentence, and thus that habeas corpus

was not an available remedy.”). Federal prisoners wishing to pursue such claims

must use other legal means than habeas. 7

      After all, “the essence of habeas corpus is an attack by a person in custody upon

the legality of that custody, and . . . the traditional function of the writ is to secure

release from illegal custody.” Preiser v. Rodriguez, 411 U.S. 475, 484 (1973). “[W]here

an inmate seeks injunctive relief challenging the fact of his conviction or the duration

of his sentence,” that claim “fall[s] within the core of federal habeas corpus.” Nelson

v. Campbell, 541 U.S. 637, 643 (2004).

      To be clear, the Supreme Court has never ruled out the possibility of a federal

inmate challenging his conditions of confinement via a habeas petition. See Preiser,

411 U.S. at 499 (“When a prisoner is put under additional and unconstitutional

restraints during his lawful custody, it is arguable that habeas corpus will lie to




      7  The “appropriate remedy for such constitutional violations, if proven, would
be a judicially mandated change in conditions and/or an award of damages, but not
release from confinement.” Davis v. Pa. Dep’t of Corrs., No. 15-587, 2015 U.S. Dist.
LEXIS 137712, at *8 (W.D. Pa. Sept. 11, 2015) (citing Murphy v. Brooks, 132 F.3d 43
(10th Cir. 1997) (table)), R&R adopted, 2015 U.S. Dist. LEXIS 136918 (Oct. 7, 2015);
see also Crawford v. Bell, 599 F.2d 890, 891-92 (9th Cir. 1979).

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remove the restraints making the custody illegal.”). But neither the Supreme Court

nor the Third Circuit has ever recognized or “delineated the circumstances that might

qualify” for such an “exceptional” circumstance. See Reese v. Warden Philadelphia

FDC, 904 F.3d 244, 246 n.2 (3d Cir. 2018) (discussing conditions of confinement for

pretrial detainee); see also Medina v. Choate, 875 F.3d 1025, 1029 (10th Cir. 2017)

(“If a federal prisoner is ever entitled to relief under § 2241 based on something that

happened before trial, the circumstances are so rare that they have apparently not yet

arisen.”) (emphasis added)). And numerous courts in this district have recently

recognized “the mere threat of exposure to COVID-19” at FCI Fort Dix is not “such

an exceptional circumstance” to warrant habeas jurisdiction. See Harper, 2020 U.S.

Dist. LEXIS 162005, at *7 (citing Chaparro v. Ortiz, No. 20-5272 (NLH), 2020 U.S.

Dist. LEXIS 131054, at *7 (D.N.J. July 24, 2020); Cavigliano v. United States, No. 20-

5949 (NLH), 2020 U.S. Dist. LEXIS 130123, at *5 (D.N.J. July 23, 2020); Dobson v.

Warden, No. 20-5519 (NLH), 2020 U.S. Dist. LEXIS 126079, at *7 (D.N.J. July 17,

2020)).

      Furthermore, the theoretical possibility that an “exceptional circumstance”

exists for a post-conviction inmate is even more remote when there is an “orderly”

process in place for an inmate to obtain the requested relief. See Johnson v. Hoy, 227

U.S. 245, 247 (1913) (“[T]he orderly course of a trial must be pursued and the usual

remedies exhausted, even where the petitioner attacks on habeas corpus the

constitutionality of the statute under which he was indicted[.]”); Moore v. DeYoung,



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515 F.2d 437, 447 (3d Cir. 1975) (discussing in dicta the possibility that “delay,

harassment, bad faith or other intentional activity” could preclude an orderly process)

      This Court should not follow Aigebkaen v. Warden, FCI Fort Dix, No. 20-5732

(NLH), 2020 WL 6883438, at *4 (D.N.J. Nov. 24, 2020), which extended the Third

Circuit’s decision in Hope v. Warden York Cty. Prison, 972 F.3d 310 (3d Cir. 2020), to

the prison context.      In Hope, the Third Circuit held that “extraordinary

circumstances” created by the COVID-19 pandemic in March 2020 warranted habeas

review of civil immigration detainees’ conditions of confinement claims. Hope v.

Warden York Cty. Prison, 972 F.3d 310, 324 (3d Cir. 2020).

      The prison context is distinguishable from the civil immigration context at

issue in Hope in a number of meaningful ways. First, the procedural posture and

constitutional protections governing civil immigration detainees are different from

those for convicted inmates, such as Petitioner. The Fifth Amendment protects civil

immigration detainees, whereas the conditions of confinement for inmates are

governed by the Eighth Amendment. See Hope, 972 F.3d at 325 (3d Cir. 2020).

Second, inmates serving criminal sentences (unlike civil immigration detainees) are

subject to the Prison Litigation Reform Act (“PLRA”). See id. at 333 n.6 (citing 18

U.S.C. § 3626(g)(3)). The PLRA is generally a “non-starter” for habeas petitioners

seeking release based on conditions of confinement, and this Petitioner should not be

permitted to use § 2241 to circumvent the limitations imposed by that statute. See

id. (noting that “Petitioners’ quest for immediate release would have been a non-

starter” given the strict procedural prerequisites of the PLRA).
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      In this case, Petitioner does not allege that the BOP violated the terms of his

court judgment in carrying out the execution of his sentence. Nor does Petitioner

allege that the BOP violated any statute or regulation regarding the fact or duration

of his sentence.      Moreover, Petitioner cannot demonstrate an exceptional

circumstance such that this Court should recognize Section 2241 jurisdiction for a

post-conviction inmate to challenge the conditions of his confinement. Rather, the

BOP continues to address and mitigate the spread of COVID-19 at FCI Fort Dix.

Lastly, there is an “orderly” statutory and regulatory process in place for Petitioner

to seek home confinement, and Petitioner has pursued, if not exhausted, his options

to seek transfer to home confinement through administrative means through the

BOP. Simply put, the facts of this Petition do not present any reason for this Court

to fashion a groundbreaking jurisdictional remedy that departs from decades of Third

Circuit case law.

      Regrettably, there are a number of active COVID-19 cases at FCI Fort Dix, but

that still does not create an “exceptional circumstance” creating habeas jurisdiction.

Wragg, 462 F. Supp.3d at 503-05. Similarly, Petitioner has no constitutional right to

a transfer to home confinement. Johnson, 2012 WL 5880344, at *7. He likewise

enjoys no right on Section 2241 habeas to challenge BOP’s decision to transfer

inmates from FCI Elkton, which decisions are committed by Congress to the sole

discretion of BOP. 18 U.S.C. § 3621(b). Petitioner points to no authority creating

federal jurisdiction to mount a challenge to transfers of other federal inmates by BOP.

Accordingly, the Court should dismiss the petition for lack of jurisdiction.
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      C. Gallo’s Conditions of Confinement Do Not Violate the Constitution
      Petitioner’s continued detention does not violate the Constitution. There is no

evidence that the Government is acting with a reckless disregard for Gallo’s safety or

deliberate indifference to his medical needs. To demonstrate deliberate indifference

regarding medical care, an inmate must show both that: (1) alleged deficiencies in

medical care are objectively “sufficiently serious”; and (2) government actors “have a

sufficiently culpable state of mind.” Thomas v. Tice, 948 F.3d 133, 138 (3d Cir. 2020).

                        1. Risk of Reinfection

      In the context of exposing inmates to risk of disease, a claim must be dismissed

if it does not pose a threat that is so severe that it would be “contrary to current

standards of decency for anyone to be so exposed.” Helling v. McKinney, 509 U.S. 25,

35 (1993). A plaintiff must also show that BOP “knows of and disregards an excessive

risk to inmate health or safety; the official must both be aware of facts from which

the inference could be drawn that a substantial risk of serious harm exists, and he

must also draw the inference.” Farmer v. Brennan, 511 U.S. 825, 837 (1994). Stated

differently, “neither negligence nor strict liability is the appropriate inquiry in prison-

conditions cases.” Steading v. Thompson, 941 F.2d 498, 499-500 (7th Cir. 1991).

      In this case, there is no evidence that Respondent is acting with deliberate

indifference with respect to the exposure to risk of infection.         The BOP is not

disregarding the risks posed by COVID-19 to Petitioner or any other inmate. The

BOP has been proactive about seeking to prevent COVID-19 infections at FCI Fort

Dix and has worked continually to address infections and limit the spread of the virus

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within the facility. Daily news reports and data from around the world demonstrate

how difficult it has been to contain COVID-19, and while FCI Fort Dix has

experienced infection, the facility and its staff have performed well under the

circumstances.

      Petitioner’s allegation that the BOP has demonstrated a “deliberately

indifferent and reckless response” to the COVID-19 pandemic, Petition at 26, is

refuted by the declarations attached to this answer. Respondent and the staff at FCI

Fort Dix have implemented (and continue to modify as conditions change)

comprehensive plans to protect inmates, mitigate and eliminate spread, address

infections, provide medical screening and treatment, and maximize cleanliness and

sanitation. Contrary to Petitioner’s allegation of “at least one death at the . . .

institution,” Petition at 9, no inmates at FCI Fort Dix have died, and none have been

transferred to outside hospitals for care. Reiser Decl. ¶ 42. Moreover, Petitioner is

housed at the Camp, which has a current population of 170 in facilities with a

capacity for approximately 400. Id. ¶ 25. There have been no COVID-19 cases at the

Camp since the spring. Id. ¶ 28.

      With respect to the FCI Elkton transfers, the BOP conducted the transfers to

FCI Fort Dix from FCI Elkton for an appropriate purpose (to increase social

distancing at FCI Elkton) and in a manner that prioritized testing, screening, and

separation of inmate groups. Reiser Decl. ¶¶ 29, 35-43.




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      In addition, there is no evidence of any culpable mental state by Respondent

or any other BOP staff member. The phrase “deliberate indifference” is not just

“legalese,” it represents a subjective state of mind which Petitioner cannot show.

      Petitioner’s speculation that he might be re-infected and his allegation that he

has one or more risk factors for COVID-19, including obesity, asthma, and pre-

diabetes, Petition at 8, cannot form the basis for an Eighth Amendment claim. As

this Court explained in Wragg:

             This is not to say that Petitioners do not have genuine fears or
             concerns. These are worrisome times for sure. The record simply
             does not support that the Respondents have been deliberately
             indifferent to the inmates’ concerns. That physical distancing is
             not possible in a prison setting, as Petitioners urge, does not an
             Eighth Amendment claim make[.]

462 F. Supp. 3d at 509.

                       2. Medical Care

      Gallo has alleged that he has received inadequate medical care during the

COVID-19 pandemic that continues today. Arguments regarding deficient medical

care are “not cognizable in habeas petition and need[] to be brought in a civil rights

action.”   Aigebkaen, 2020 WL 6883438, at *5.       Gallo’s allegations are not only

insufficient to meet the deliberate indifference standard, but they are also

unsupported by the factual record.

      First, Gallo alleges that he received inadequate medical care when he was

infected with COVID-19 in April 2020: “No treatment whatsoever was provided, nor

was Gallo examined by a physician in the more than two months period of time he


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was locked indoors with no fresh air or sunshine.” Petition at 2. The record shows

that even though Gallo showed no COVID-19 symptoms at the time of testing or

during his entire infection, BOP medical staff examined him on a daily basis in the

seven days following his positive COVID-19 test. See Turner-Foster Decl. ¶¶ 3-4.

Both Dr. Turner-Foster, a medical doctor and the Clinical Director at FCI Fort Dix,

and another FCI Fort Dix physican evaluated Gallo at this time. Id. at ¶¶ 1, 3. When

BOP staff moved Gallo to recovery on April 30, 2020, his daily medical examinations

ceased, but medical care remained available to him had he developed any symptoms.

Id. ¶ 4.

       Gallo’s allegation that he is experiencing “lingering CoVid effects,” for which

he is receiving inadequate medical care, is likewise unsupported by the record. Gallo

has sought medical care only once in the months following his asymptomatic

infection. Id. ¶ 6. On October 22, 2020, he complained that his left leg and right arm

had been falling asleep for six weeks.     Id.      He reported no other symptoms or

complications, and there were no abnormal findings upon medical evaluation. Id.

Medical staff directed Gallo to increase his fluid intake, including by purchasing

sports drinks from the Commissary.       Id.     According to FCI Fort Dix’s Clinical

Director, “[b]ased on [Gallo’s] normal medical evaluation, there is no concern” that

the routine blood work ordered on October 22, 2020, has not yet been performed. Id.

¶ 7. As medical staff explained to Gallo at his October 22 visit, he may request a sick

call at any time if he experiences additional or worsening symptoms. Id., Ex. 1

(medical records) at 1-4.
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      Gallo’s allegations, even if they were true, fall far short of establishing the

Respondent’s deliberate indifference regarding medical needs, which requires both

serious deficiencies in medical care and a culpable state of mind. Thomas, 948 F.3d

at 138. The factual record shows that Gallo received appropriate treatment for his

COVID-19 infection in the Spring, and is currently receiving proper care based on

medical evaluation of his reported symptoms. Furthermore, Gallo has access to

additional medical care should he need it.

                                  CONCLUSION

      For the foregoing reasons, this Court should deny the petition in all respects.

                                              Respectfully submitted,

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Dated:   November 30, 2020




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